                Case 23-54729              Doc 1          Filed 05/19/23 Entered 05/19/23 18:40:48                            Desc Main
                                                             Document    Page 1 of 4
     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     Northern
     ____________________             Georgia
                          District of _________________
                                          (State)
     Case number (If known): _________________________ Chapter _____
                                                                       7
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                            Chapter 7
                                            Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name
                                        Eckardt Group, LLC
                                       ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
     Number (EIN)
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                        3690          North Peachtree Road
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                                                                                      _________________________________________________
                                       _________________________________________________
                                                                                                      P.O. Box

                                        Atlanta
                                       ______________________________
                                                                             GA 30341
                                                                            _______ _________         _____________________________ _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                        DeKalb
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


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Debtor
               Eckardt Group, LLC
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)        _____________________________________________________________________________________________________




7.    Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                     None of the types of business listed.
                                     Unknown type of business.

9.    To the best of your               No
      knowledge, are any
      bankruptcy cases                  Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:

                                     Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                     The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a               No
      transfer of any claim
      against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


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Debtor
                  Eckardt Group, LLC
                  _______________________________________________________                                  Case number (if known)_____________________________________
                  Name




13.   Each petitioner’s claim                     Name of petitioner                                    Nature of petitioner’s claim                Amount of the claim
                                                                                                                                                    above the value of
                                                                                                                                                    any lien

                                                   Duffey Southeast, Inc.
                                                  ______________________________________
                                                                                                           account
                                                                                                        _________________________________
                                                                                                                                                      4,421,246.19
                                                                                                                                                    $ ________________

                                                   B&S Electric Supply Co., Inc.
                                                  ______________________________________
                                                                                                           account
                                                                                                        _________________________________
                                                                                                                                                      5,021,495.12
                                                                                                                                                    $ ________________

                                                   Alliance Fire Protection Services, Inc.
                                                  ______________________________________
                                                                                                           account
                                                                                                        _________________________________             201,187.02
                                                                                                                                                    $ ________________

                                                                                                              Total of petitioners’ claims            9,643,928.33
                                                                                                                                                    $ ________________


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:        Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                             Attorneys


      Name and mailing address of petitioner

      Duffey Southeast, Inc.                                                                  Louis G. McBryan
                                                                                             ________________________________________________________________
      ______________________________________________________________
      Name                                                                                   Printed name

      P.O. Box 108                                                                            McBRYAN, LLC
                                                                                             ________________________________________________________________
      ______________________________________________________________                         Firm name, if any
      Number Street

      Cedartown                                     GA                  30125                 6849      Peachtree Dunwoody Road, Building B-3, Suite 100
                                                                                             ________________________________________________________________
      _________________________________ ______________ _____________
      City                              State          ZIP Code                              Number Street

                                                                                              Atlanta                                  GA               30328
                                                                                             _________________________________ ______________ _____________
                                                                                             City                              State          ZIP Code
      Name and mailing address of petitioner’s representative, if any

      Robert Darrin Kines, COO
      ______________________________________________________________                         Contact phone
                                                                                                               678-733-9322                  lmcbryan@mcbryanlaw.com
                                                                                                              _________________ Email ___________________________
      Name

      380         Dahlonega Street, Suite 200
      ______________________________________________________________                         Bar number
                                                                                                              480993
                                                                                                             ___________________________________________________
      Number Street

      Cumming                                       GA                  30040                State
                                                                                                              GA
                                                                                                             _________________
      _________________________________ ______________ _____________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.


                                                                                          8
                            05/12/2023
      Executed on _________________                                                                     V/RXLV*0F%U\DQ
                                                                                              ________________________________________________________________
                                                                                             Signature of attorney

8             V5REHUW'DUULQ.LQHV
      ______________________________________________________________
                                                                                             Date signed
                                                                                                                
                                                                                                              _________________
      Signature of petitioner or representative, including representative’s title
                                                                                                              MM / DD / YYYY



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Debtor
               Eckardt Group, LLC
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

    Alliance Fire Protection Services, Inc.                                                Louis G. McBryan
                                                                                          ________________________________________________________________
   ______________________________________________________________
   Name                                                                                   Printed name

    P.O. Box 1798                                                                          McBRYAN, LLC
                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

    Loganville                                   GA                  30052                 6849 Peachtree Dunwoody, Building B-3, Suite 100
                                                                                          ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                              Number Street

                                                                                           Atlanta                                 GA              30328
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                                            678-733-9322              lmcbryan@mcbryanlaw.com
    Ronda Parks, CEO
   ______________________________________________________________
                                                                                          Contact phone    _________________ Email ___________________________

   Name
                                                                                                           480993
    P.O. Box 1798
   ______________________________________________________________
                                                                                          Bar number      ___________________________________________________

   Number Street
                                                                                                           GA
    Loganville                                   GA
   _________________________________ ______________ _____________
                                                                     30052                State           _________________

   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.
                         05/10/2023
   Executed on _________________                                                       8             V/RXLV*0F%U\DQ
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


8              V5RQGD3DUNV
    ______________________________________________________________                        Date signed       
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

    B&S Electric Supply Co., Inc.                                                          Benjamin Rachelson
                                                                                          ________________________________________________________________
   ______________________________________________________________
   Name                                                                                   Printed name

    4505 Mills Place SW                                                                    Adams & Reese, LLP
                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

    Atlanta                                      GA                  30336                 3424 Peachtree Road NE, Suite 1600
                                                                                          ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                              Number Street

                                                                                           Atlanta                                 GA              30326
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                                            470-427-3703            Benjamin.Rachelson@arlaw.com
    Clarence Robie, CEO
   ______________________________________________________________
                                                                                          Contact phone    _________________ Email ___________________________

   Name
                                                                                                           558570
    4505 Mills Place SW
   ______________________________________________________________
                                                                                          Bar number      ___________________________________________________

   Number Street
                                                                                                           GA
    Atlanta                                      GA
   _________________________________ ______________ _____________
                                                                     30336                State           _________________

   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.
                         05/16/2023
   Executed on _________________                                                       8                VBenjamin Rachelson
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


8              V&ODUHQFH5RELH
    ______________________________________________________________                        Date signed
                                                                                                            
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




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